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CORPORATIQNS
DIVISION

 

Total Hits as of Today : 522629
Active users brewsng the site: 129

 

 

 

 

 

Entity Detail

VISTA LIVING COMMUNITIES, LLC
Ohio Foreign Limited Liabi|ity Company

Back tg Search

 

Fi|ing Information

Address Information

 

Cormeprc#

Purpose

Corporation Status
Date Of Incorporation
State Of Incorporation
Fisca|YearDate

1869171

NOT REQUIRED
EX~Exempt

06/ 12/ 1997

OH

Mai|ing Address
7150 GRANITE CIRCLE
TOLED0,0H,US,43617
Corporation Address
m

OutOfSl:ate Address

n
Foreign Address

n

 

Agent Information

Director(s) Information

 

C T CORPORATION SYSTEM
123 EAST MARCY
SANTA FE,NM,87501

 

Officer(s) Information

Cooperative License

 

 

 

Instrument Type
Instrument Text
InstrumentNumber

Fi|ing Date
Instrument Type

Instru ment Text

amended certificate of
registration

CNT VISTA LIVING COMMUNITIES,
LLC (4 PG)

1869171

06/12/1997

Certificate Of Registration
GRANI'TE CIRCLE INVESTORS LTD. (IN
NM GRANlTE CIRCLE INVESTORS LTD.
CO.) ORGANIZED IN OHIO JUNE 5,
1997 PERPETUAL

 

Information
0 1 : TICE, RONALD J.
0;§:;2 _ Licence# :
Orgnzr3 : :xp|rat\on Year :
0rgnzr4 : VP€ ~
Instrument Information supplemental P°st Mark
Dates
InstrumentNumber 3305349
Fi|ing Date 12/09/2005

Supp|ementa| :
Purpose Change :
Agent Resigned :
Name Change :

 

 

Note: This is not official record. P|ease contact NMPRC if question or conflict.

 

 

    

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ExHBlT

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4/28/2011 11:31PM

